   Case 2:19-cv-14666-SM-JVM Document 57 Filed 03/05/20 Page 1 of 13



                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


E.N. BISSO & SONS, INC                     *       CIVIL ACTION No.:2:19-cv-14666
                                           *
VERSUS                                     *       SECTION “E”
                                           *
M/V DONNA J. BOUCHARD , her tackle, *              MAG. DIVISION “1”
furniture, apparel, appurtenances, etc.,   *
in rem; and the                            *       JUDGE MORGAN
BARGE B. NO. 272, her tackle, furniture, *
apparel, appurtenances, etc., in rem; and, *       MAGISTRATE JUDGE
BOUCHARD TRANSPORTATION CO.                *       VAN MEERVELD
INC, in personam                           *

    FIRST SUPPLEMENTAL AND AMENDING VERIFIED COMPLAINT IN
                        INTERVENTION

       Pursuant to Fed. R. Civ. Proc. 15(a), plaintiff, Boland Marine & Industrial, LLC

(“Boland Marine”), a Louisiana limited liability company, by and through its undersigned

counsel, files this First Supplemental and Amending Verified Complaint in Intervention

for damages, maritime attachment and garnishment and respectfully represents that:

                             I. JURISDICTION AND VENUE

                                            1.

       This Court has jurisdiction pursuant to 28 U.S.C. §1333, 46 U.S.C. §31341, et

seq. and general maritime law. This is an admiralty and maritime claim within the

meaning of Rule 9(h) of the Federal Rules of Civil Procedure and Supplemental Rules B

and E of the of the Federal Rules of Civil Procedure.

                                            3.

       Based on the defendants’ alter-ego status of each other operating and as a single-

business enterprise, this Court’s jurisdiction over all of the defendants, as well as their

respective assets, is co-extensive.



                                            1
   Case 2:19-cv-14666-SM-JVM Document 57 Filed 03/05/20 Page 2 of 13



                                              4.

       Venue is proper pursuant to 28 U.S.C. §1391(b) and based on the presence of

assets of the defendants in the District of this Court.



                                         II. PARTIES

                                                  5.

       Boland Marine is a Louisiana limited liability company with its principal place of

business in Orleans Parish, Louisiana and provides berthing/dockage, security, vessel

repairs, equipment, labor, maintenance, other services and vessel parts to commercial

customers and vessels at various locations in the Gulf South including the Perry Street

Wharf and the Poland Avenue Wharf in the Port of New Orleans.

                                              5.

       The defendants are:

       (a) Bouchard Transportation, in personam, is a New York business entity which

           conducts business in the State of Louisiana operator and owner of several

           tugboats and barges, including the M/V DONNA J. BOUCHARD and

           BARGE B. NO. 272, operating throughout the navigable waters of the United

           States;

       (b) Tug Donna J. Bouchard Corp., in personam, is a New York business entity

           which conducts business in the State of Louisiana and is the ostensible owner

           of the M/V DONNA J. BOUCHARD;




                                              2
Case 2:19-cv-14666-SM-JVM Document 57 Filed 03/05/20 Page 3 of 13



   (c) B. No. 272 Corp., in personam, is a New York business entity which conducts

      business in the State of Louisiana and is the ostensible owner of the BARGE

      B. NO. 272;

   (d) M/V DONNA J. BOUCHARD, her engines, tackle, apparel, appurtenances,

      etc., in rem; and,

   (e) BARGE B. NO. 272, its engines, tackle, apparel, appurtenances, etc., in rem;

   (f) Tug Linda Lee Corp., in personam, a New York business entity which

      conducts business in the State of Louisiana and is the ostensible owner of the

      TUG LINDA LEE BOUCHARD;

   (g) Tug Ralph E. Bouchard Corporation, in personam, a New York business

      entity which conducts business in the State of Louisiana and is the ostensible

      owner of the TUG RALPH E. BOUCHARD;

   (h) B. No. 230 Corp., in personam, a New York business entity which conducts

      business in the State of Louisiana and is the ostensible owner of the BARGE

      B. NO. 230;

   (i) Tug Danielle M. Bouchard Corp., in personam, a New York business entity

      which conducts business in the State of Louisiana and is the ostensible owner

      of the TUG DANIELLE M. BOUCHARD;

   (j) B. No. 245 Corporation, in personam, a New York business entity which

      conducts business in the State of Louisiana and is the ostensible owner of the

      BARGE B. NO. 245;




                                       3
   Case 2:19-cv-14666-SM-JVM Document 57 Filed 03/05/20 Page 4 of 13



       (k) B. No. 270 Corp. in personam, a New York business entity which conducts

           business in the State of Louisiana and is the ostensible owner of the BARGE

           B. NO. 270;

       (l) Tug Bouchard Girls Corp., in personam, a New York business entity which

           conducts business in the State of Louisiana and is the ostensible owner of the

           TUG BOUCHARD GIRLS;

       (m) B. No. 295 Corp., in personam, a New York business entity which conducts

           business in the State of Louisiana and is the ostensible owner of the BARGE

           B. NO. 295;

       (n) Tug J. George Betz, Corp., in personam, a New York business entity which

           conducts business in the State of Louisiana and is the ostensible owner of the

           TUG J. GEORGE BETZ;

       (o) Barge B. No. 205 Corp., in personam, a New York business entity which

           conducts business in the State of Louisiana and is the ostensible owner of the

           BARGE B. NO. 205.

                                             6.

       At all times pertinent, Bouchard Transportation conducted business at 58 South

Service Road Suite150, Melville, NY, as a single-business enterprise and alter-ego of its

several affiliated, subsidiary New York business entities listed in paragraph 5 above.

                                             7.

       Boland Marine reserves all rights to conduct jurisdictional discovery establishing

its allegations of alter-ego and single business enterprise status by and among Bouchard

Transportation and each of its affiliated, subsidiary business entities listed in paragraph 5




                                             4
   Case 2:19-cv-14666-SM-JVM Document 57 Filed 03/05/20 Page 5 of 13



above, see ING Bank N.V. v. M/V PORTLAND, 2016 U.S. Dist. LEXIS 78495 (M.D. La.

2016), and further shows:

       (a)     Bouchard Transportation is the corporate parent to each of its affiliated,

subsidiary corporate business entities and, therefore, the owner of Bouchard

Transportation has the power to dominate and actually dominates and controls each of its

affiliated subsidiary business entities:

       (b)     The president and chief executive officer of Bouchard Transportation is

also the president and chief executive officer of each of its affiliated, subsidiary corporate

business entities, and, therefore, the business relationships between Bouchard

Transportation and each of its affiliated, subsidiary business entities are not and have not

been true arm’s length business transactions;

       (c)     The administrative and managerial personnel of Bouchard Transportation

have functioned and performed duties as administrative and managerial personnel of its

affiliated, subsidiary corporate business entities;

       (d)     Bouchard Transportation in its capacity as borrower obtained bank loans

for the operations of vessels ostensibly owned by its affiliated, subsidiary business

entities and, therefore, Bouchard Transportation utilized its own credit and financed the

business operations of its affiliated subsidiary business entities;

       (e)     When Bouchard Transportation borrowed money from banks for its

business operations, the president and chief executive officer of Bouchard Transportation

caused its affiliated, subsidiary business entities to mortgage its respective assets (i.e.

vessels) to be used as collateral or security for Bouchard Transportation’s bank loans;




                                              5
   Case 2:19-cv-14666-SM-JVM Document 57 Filed 03/05/20 Page 6 of 13



Bouchard Transportation’s affiliated, subsidiary business entities were also guarantors for

Bouchard Transportation’s bank loans;

       (f)     Bouchard Transportation requested and induced Boland Marine’s

performance of repair and maintenance work on vessels mortgaged by Bouchard

Transportation’s affiliated, subsidiary business entities, which vessels served as collateral

on bank loans made to Bouchard Transportation in its capacity as borrower, thereby

maintaining and/or increasing the value of the mortgaged collateral at the expense of

Boland Marine and for the benefit of Bouchard Transportation;

       (g)     Bouchard Transportation controls all operations of vessels owned by its

affiliated, subsidiary business entities and pays the vessel operational expenses;

       (h)     Bouchard Transportation’s affiliated, subsidiary business entities receive

or derive no other business or work projects except those obtained for them from

Bouchard Transportation;

        (i)    Bouchard Transportation is the operator of the tugs and barges owned by

its affiliated, subsidiary business entities; Bouchard Transportation hires and manages all

crewmembers aboard the vessels; Bouchard Transportation contracts for the transport of

petroleum products throughout the East Coast, Gulf of Mexico and Mississippi River for

which Bouchard Transportation invoices its customers and receives payments; Bouchard

Transportation handles all aspects of vessel maintenance and repairs; Bouchard

Transportation arranges for and obtains insurance coverages for the vessels; Bouchard

Transportation interfaces with the Coast Guard concerning the vessels; Bouchard

Transportation is, therefore, the true beneficial owner of the vessels including the in rem

defendants named herein;




                                             6
   Case 2:19-cv-14666-SM-JVM Document 57 Filed 03/05/20 Page 7 of 13



        (j)      Bouchard Transportation diverted its own assets and the assets of its

affiliated, subsidiary business entities resulting in its own undercapitalization and

undercapitalization of its affiliated, subsidiary business entities, all to the detriment of

legitimate trade creditors like Boland Marine;

        (k)      Bouchard Transportation and its affiliated, subsidiary business entities

have utilized a single-business enterprise form to unjustly divert corporate funds away

from business creditors, like Boland;

        (l)      The president and chief executive officer of Bouchard Transportation

controls the bank accounts of Bouchard Transportation and controls the bank accounts of

its affiliated, subsidiary business entities;

        (m)      Bouchard Transportation and each of its affiliated, subsidiary business

entities share business offices and personnel located at 58 South Service Road, Suite 150,

Melville, New York;

        (n)      In disregard of corporate form, Bouchard Transportation has described

itself in public records as owner and operator of the tugs and barges which Bouchard

Transportation now contends are owned by its affiliated, subsidiary business entities;

        (o)      In disregard of corporate form, and its dealing with Boland Marine and

other trade creditors providing work and services for its vessels: (i) Bouchard

Transportation issued all work orders to such trade creditors, (ii) Bouchard

Transportation made all payments to such trade creditors and (iii) Bouchard

Transportation otherwise held itself out as the business entity responsible for payment for

all such work;




                                                7
   Case 2:19-cv-14666-SM-JVM Document 57 Filed 03/05/20 Page 8 of 13



          (p)    In disregard of corporate form, Bouchard Transportation has never

informed Boland Marine and other trade creditors that any business entity other than

Bouchard Transportation was responsible for payment for work performed or that

Bouchard Transportation was an agent for another business entity who was actually

responsible for payment;

          (q)    In disregard of the corporate form, Bouchard Transportation incurs the

expenses of responding to legal and administrative issues involving vessels ostensibly

owned by its affiliated, subsidiary corporate business entities;

          (r)    Other acts, omissions and documents obtained during discovery

demonstrating the alter-ego and single business enterprise status of the defendants named

herein.

                                                  8.

          Bouchard Transportation and each of the business entities identified in Paragraph

5 above were and are New York business entities, and at the time that Boland Marine

filed its original Verified Complaint in Intervention, had no offices in the Eastern District

of Louisiana; it has no agent(s) for service of process in the Eastern District of Louisiana;

Boland Marine is informed and believes that none of the officers of Bouchard

Transportation or any of the business entities identified in Paragraph 5 above are now

within the Eastern District of Louisiana; that Bouchard Transportation and each of the

business entities identified in Paragraph 5 above do not maintain a physical addresses or

telephone listings within the Eastern District of Louisiana; that no person is present

within the Eastern District of Louisiana to receive a summons and complaint as

contemplated by Fed. R. Civ. P. 4(d), and, otherwise, cannot be found in the Eastern




                                              8
   Case 2:19-cv-14666-SM-JVM Document 57 Filed 03/05/20 Page 9 of 13



District of Louisiana, but is subject to the quasi in rem jurisdiction of this Court pursuant

to Supplemental Rule B of the Supplemental Rules of Certain Admiralty and Maritime

Claims of the Federal Rules of Civil Procedure based on the presence and location of

certain tangible or intangible property in the district and jurisdiction of this Honorable

Court.

                    III. BOUCHARD TRANSPORTATION VESSELS

                                                 9.

   At all times pertinent, the following vessels were operated by Bouchard

Transportation:

         (a)   M/V LINDA LEE BOUCHARD and BARGE B. NO. 205;

         (b)   M/V RALPH E. BOUCHARD and BARGE B. NO. 230;

         (c)   M/V DANIELLE E. BOUCHARD and BARGE B. NO. 245;

         (d)   BARGE B. NO. 270;

         (e)   M/V BOUCHARD GIRLS and BARGE B. NO. 295; and,

         (f)   M/V GEORGE BETZ.

(collectively hereafter the “Vessels”).



                         IV. SUPPLEMENTAL RULE B CLAIMS

                                              10.

   Pursuant to requests by defendant Bouchard Transportation which included agreed

pricing, Boland Marine provided berthing/dockage, security, labor, materials, parts

equipment, repairs and other related services (collectively hereafter “work”) to the

Vessels at various locations including the Perry Street Wharf and Poland Avenue Wharf




                                             9
  Case 2:19-cv-14666-SM-JVM Document 57 Filed 03/05/20 Page 10 of 13



in the Port of New Orleans in the principal amount of $1,452,150.00. See attached

Exhibit “A” incorporated herein and made part hereof.

                                            11.

        Boland Marine provided the above-described work for the benefit of the Vessels

and the Defendants, all of which was performed by Boland Marine in a good and

workmanlike manner and accepted and utilized by the Bouchard Transportation and its

affiliated, subsidiary business entities.

                                            12.

        Pursuant to the parties’ agreement and course of dealing, Boland Marine provided

Bouchard Transportation with its invoices (attached Exhibit “A”) for its work to the

Vessels in the principal amount of $1,452,150.00, which, despite amicable demand, and

in breach of the parties’ contract, remains unpaid.

                                            13.

        At no time whatsoever did Bouchard Transportation inform Boland Marine that it

was merely an agent for a disclosed principal or that Bouchard Transportation was not

financially responsible for the services performed by Boland Marine.

                                            14.

        Throughout the parties’ course of dealing, Bouchard Transportation as operator

and owner of the Vessels: (a) requested Boland Marine’s work to the Vessels; (b)

received the invoicing by Boland Marine, and, (c) with the exception of the work

described on the attached Exhibit “A,” paid Boland Marine.




                                            10
  Case 2:19-cv-14666-SM-JVM Document 57 Filed 03/05/20 Page 11 of 13



                                            15.

       The work and invoices by Boland Marine, as set forth above and on the attached

Exhibit “A,” constitute maritime contracts, or in the alternative, an open account, which

the defendants breached by failing to pay Boland Marine.

                                            16.

       Based on the defendants’ breach and non-payment, Boland Marine is entitled to

recovery against Defendants, jointly, severally and solidarily, in the principal amount of

$1,452,150.00, interest at the rate of 1.5% per month, all costs of these proceedings and

reasonable attorneys fees pursuant to the terms of Boland Marine’s invoices (See attached

Exhibit “A”) and the parties’ course of dealing.

                                            17.

       In the alternative, Boland Marine is entitled to recovery against Bouchard

Transportation, in the principal amount of $1,452,150.00, interest at the rate of 1.5% per

month, all costs of these proceedings and reasonable attorneys fees under equitable

principles including the doctrine of quantum meruit or unjust enrichment and the terms of

Boland Marine’s invoices (See attached Exhibit “A”) and the parties’ course of dealing.

                                            18.

       Pursuant to Supplemental Rule B, Boland Marine is entitled to process of

maritime attachment of all tangible and intangible property of the Defendants located

within the District of this Honorable Court including but not limited to M/V DONNA J.

BOUCHARD and the BARGE B. NO. 272.




                                            11
  Case 2:19-cv-14666-SM-JVM Document 57 Filed 03/05/20 Page 12 of 13



                                            19.

       All and singular, the premises and allegations in this Verified Complaint in

Intervention are true and correct and within the admiralty and maritime jurisdiction of the

United States and this Court.

       WHEREFORE, Boland Marine prays:

       That after due proceeding are had there be judgment in its favor and against the

Bouchard Transportation, Tug Donna J. Bouchard Corp. and B. No. 272 Corp., jointly,

severally and in solido, in the principal amount of $1,452,150.00, interest at the rate of

1.5% per month, all costs of these proceedings and reasonable attorneys fees.

       That process of attachment issue pursuant to Supplemental Rule B against the

M/V DONNA J. BOUCHARD and the BARGE B. NO. 272, and that both vessels be

condemned and sold at public auction to satisfy Boland Marine’s claims as stated herein.

       That Boland Marine may have judgment against Bouchard Transportation, Tug

Donna J. Bouchard Corp. and Barge B. No. 272 Corp., jointly, severally and solidarily,

for the amount of any deficiency, plus any other sums and interest, costs and attorney’s

fees; and,

       For any and all other just and equitable relief.

                                      Respectfully submitted:

                                      LAW OFFICE OF CARY A. DES ROCHES


                                      /s/ Cary A. Des Roches
                                      Cary A. Des Roches (LA Bar No. 19550)
                                      225 Phosphor Avenue
                                      Metairie, LA 70005
                                      and
                                      1100 Poydras Street
                                      Suite 3250



                                             12
  Case 2:19-cv-14666-SM-JVM Document 57 Filed 03/05/20 Page 13 of 13



                                      New Orleans, LA 70170
                                      Phone: (504) 588-1288
                                      Facsimile: (504) 588-9750
                                      cdr@desrocheslaw.com
                                      COUNSEL FOR BOLAND MARINE &
                                      INDUSTRIAL, LLC

                                      and

                                      COUHIG PARTNERS, LLC
                                      Robert E. Couhig, Jr. (La. Bar No. 4439)
                                      Robert E. Couhig, III (La. Bar No. 29811)
                                      Jeffrey T. Pastorek (La. Bar No. 33309)
                                      1100 Poydras Street, Suite 3250
                                      New Orleans, LA 70163
                                      T: (504) 588-1288
                                      F: (504) 588-9750
                                      rcouhig@couhigpartners.com
                                      jpastorek@couhigpartners.com
                                      COUNSEL FOR BOLAND MARINE &
                                      INDUSTRIAL, LLC


                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing has this date been served on

all counsel of record in this proceeding by:

( ) Hand Delivery              ( ) Prepaid U.S. Mail
( ) Facsimile                 ( ) Federal Express
( ) Electronic Mail           (x) CMF/ECF

New Orleans, Louisiana this 4th day of March 2020.


                                      /s/ Cary A. Des Roches_________
                                      CARY A. DES ROCHES




                                               13
